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                        UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

NATIONAL RIFLE ASSOCIATION OF                )
AMERICA,                                     )
                                             )
      Plaintiff and Counter-Defendant,       )
                                             )
and                                          )
                                             )
WAYNE LAPIERRE,                              )
                                             )
      Third-Party Defendant,                 )             CIVIL ACTION NO.
                                             )
vs.                                          )             3:19-CV-2074-G
                                             )
ACKERMAN MCQUEEN, INC.,                      )
                                             )
      Defendant and Counter-Plaintiff,       )
                                             )
and                                          )
                                             )
MERCURY GROUP, INC., HENRY                   )
MARTIN, WILLIAM WINKLER,                     )
MELANIE MONTGOMERY, AND                      )
JESSE GREENBERG,                             )
                                             )
      Defendants.                            )


                              ORDER OF REFERENCE

      Under the authority of 28 U.S.C. § 636(b), the defendants’ motion for leave to

file under seal certain exhibits to the joint status report in connection with

plaintiff’s motion to compel and for sanctions (docket entry 47), and defendants’

motion to compel plaintiff’s document production and motion for sanctions (docket
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entry 54) (docket entry 181) is hereby REFERRED to United States Magistrate

Judge Renée Harris Toliver for a hearing, if necessary, and for determination.

      SO ORDERED.

November 5, 2020.

                                  ___________________________________
                                  A. JOE FISH
                                  Senior United States District Judge




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